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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW HAMPSHIRE

SHANNON SQUIRES, Individually and as      )
Administrator of the Estate of ROBERT     )
MCCLUSKEY,                                )
                                          )
      Plaintiffs,                         )
                                          )
      v.                                  ) Civil No. 13-cv-517-PB
                                          )
UNITED STATES OF AMERICA,                 )
                                          )
      Defendant.                          )
__________________________________________)


                               STIPULATION FOR DISMISSAL

       Pursuant to Rule 41(a)(1)(ii) of the Federal Rules of Civil Procedure, the parties stipulate

that the pending action against the United States shall be dismissed, with prejudice, each party to

bear its own costs.

SO AGREED:

Plaintiff Shannon Squires, Individually              Defendant United States of America
and as Administrator of the Estate of
Robert McCluskey                                     DONALD A. FEITH
                                                     Acting United States Attorney

       /s/ Lawrence A. Vogelman                             /s/ T. David Plourde
By:____________________________                      By:_______________________
Lawrence A. Vogelman, Esq.                           T. David Plourde, NH Bar No. 2044
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Dated: October 21, 2015                              Dated: October 21, 2015
